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 7 State Farm Mutual Automobile Insurance Company

 8                                  UNITED STATES DISTRICT COURT
 9                                         DISTRICT OF NEVADA
10

11    JENNIE KIM, an Individual;                             CASE NO: 2:24-cv-00281-GMN-EJY
12                         Plaintiff,                        STIPULATION AND ORDER FOR
      v.                                                     DISMISSAL WITH PREJUDICE
13
      STATE FARM MUTUAL AUTOMOBILE
14    INSURANCE COMPANY, a Foreign
      Corporation; DOES 1 through 25, inclusive; and
15    ROE CORPORATIONS 1 through 25,
      inclusive,
16                        Defendants.
17
            IT IS HEREBY STIPULATED by and between Defendant, STATE FARM MUTUAL
18
     AUTOMOBILE INSURANCE COMPANY, through its counsel of record, M. CALEB MEYER, ESQ.
19
     and RENEE M. FINCH, ESQ. of MESSNER REEVES LLP, and Plaintiff JENNIE KIM, individually
20
     and by and through her counsel of record, PATRICK W. KANG, ESQ. and PAUL H. WOLFRAM,
21
     ESQ. of ACE LAW GROUP, that all claims against STATE FARM MUTUAL AUTOMOBILE
22
     INSURANCE COMPANY, arising out of Case No. 2:24-cv-00281-GMN-EJY, be dismissed with
23
     prejudice in its entirety, with each of the parties to bear their own attorney’s fees and costs, except as
24
     outlined in the accepted Offer of Judgment.
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     ///
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     ///
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     ///
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 1         IT IS FURTHER STIPULATED that no trial is currently scheduled.
 2
     Dated this 27th day of September 2024.          Dated this 27th day of September 2024.
 3
     MESSNER REEVES, LLP                             ACE LAW GROUP
 4

 5    /s/ Renee M. Finch                              /s/Paul H. Wolfram
     M. Caleb Meyer, Esq.                            Patrick W. Kang, Esq.
 6   Nevada Bar No. 13379                            Nevada Bar No. 10381
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     Attorneys for Defendant                         Las Vegas, Nevada 89146
 9                                                   Attorneys for Plaintiff
10

11                                                   IT IS SO ORDERED.

12
                                                     _________________________________
13                                                   United States District Court Judge
14

15                                                           September 30, 2024
                                                     DATED: ________________________

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